               Case 23-60691-lrc                Doc 16        Filed 11/13/23 Entered 11/13/23 16:49:46                                    Desc Main
                                                              Document     Page 1 of 30
                                                                                                                                                          • OFFICE
                                                                                                                                                             COUR r
                                                                                                                                                            R1CT
Fill in this information to identify your case:

Debtor 1                  Viola Delores Garris                                                                                        2023 NOY 13 PH 3:06
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA

Case number           23-60691-Irc
(if known)
                                                                                                                                      O Check if this is an
                                                                                                                                         amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:         Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
      •       Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

      •       No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

          Debtor 1:                                       Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                          lived there                                                                        lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

      •       No
      0       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2          Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      •       No
      0       Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income               Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.           (before deductions
                                                                               exclusions)                                                    and exclusions)




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Debtor 1      Viola Delores Garris                                                                      Case number (if known)   23-60691-Irc



6.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     •      No
     O      Yes. Fill in the details.

                                                 Debtor 1                                                       Debtor 2
                                                 Sources of income               Gross income from              Sources of income            Gross income
                                                 Describe below.                 each source                    Describe below.              (before deductions
                                                                                 (before deductions and                                      and exclusions)
                                                                                 exclusions)

Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor l's or Debtor 2's debts primarily consumer debts?
     O No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8)as "incurred by an
                individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575" or more?
                     O No.       Go to line 7.
                     O Yes      List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

     •      Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                    •   No.      Go to line 7.
                    O Yes        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                 include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                 attorney for this bankruptcy case.


         Creditor's Name and Address                        Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                  paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

     •      No
     O      Yes. List all payments to an insider.
         Insider's Name and Address                         Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                  paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

     •      No
     O      Yes. List all payments to an insider
         Insider's Name and Address                         Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                  paid            still owe      Include creditor's name




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Debtor 1     Viola Delores Garris                                                                        Case number (if known)    23-60691-Irc


Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

     •     No
     O     Yes. Fill in the details.
      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

     •     No. Go to line 11.
     O     Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
     •     No
     O     Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

     •     No
     0     Yes

 Part 5:    List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     •     No
     O     Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
     •     No
     O     Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                         Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

 Part 6:    List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

      •    No
      O    Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your          Value of property
      how the loss occurred                                                                                                 loss                               lost
                                                         Include the amount that insurance has paid. List pending
                                                         insurance claims on line 33 of Schedule A/B: Property.


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Debtor 1        Viola Delores Garris                                                                        Case number (if known)    23-60691-Irc



Part 7:        List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     O       No
     •       Yes. Fill in the details.
         Person Who Was Paid                                         Description and value of any property                     Date payment                Amount of
         Address                                                     transferred                                               or transfer was              payment
         Email or website address                                                                                              made
         Person Who Made the Payment, if Not You
         Abacus Credit Counseling                                                                                              10/30/2023                     $25.00
         17337 Ventura Boulevard
         Suite 205
         Encino, CA 91316
         www.abacuscc.org



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

     •       No
     ID      Yes. Fill in the details.
         Person Who Was Paid                                          Description and value of any property                    Date payment                Amount of
         Address                                                      transferred                                              or transfer was              payment
                                                                                                                               made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     •       No
     ID      Yes. Fill in the details.
         Person Who Received Transfer                                 Description and value of                  Describe any property or           Date transfer was
         Address                                                      property transferred                      payments received or debts         made
                                                                                                                paid in exchange
         Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
     •        No
     o        Yes. Fill in the details.
         Name of trust                                                Description and value of the property transferred                            Date Transfer was
                                                                                                                                                   made

Part 8:        List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     •       No
     O       Yes. Fill in the details.
         Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was                Last balance
         Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,               before closing or
         Code)                                                                                                           moved, or                            transfer
                                                                                                                         transferred




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    Debtor 1     Viola Delores Garris                                                                         Case number (if known)   23-60691-Irc


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

        •      No
        O      Yes. Fill in the details.
         Name of Financial Institution                             Who else had access to it?                 Describe the contents                   Do you still
         Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City,                                                     have it?
                                                                   State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

        •      No
        O      Yes. Fill in the details.
         Name of Storage Facility                                  Who else has or had access                 Describe the contents                   Do you still
         Address (Number, Street, City, State and ZIP Code)        to it?                                                                             have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

    Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

        •      No
        O      Yes. Fill in the details.
         Owner's Name                                              Where is the property?                     Describe the property                              Value
         Address (Number, Street, City, State and ZIP Code)        (Number, Street, City, State and ZIP
                                                                   Code)

    Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

•       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
        toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
        regulations controlling the cleanup of these substances, wastes, or material.
•       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
        to own, operate, or utilize it, including disposal sites.
•       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
        hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

        •      No
        O      Yes. Fill in the details.
         Name of site                                              Governmental unit                             Environmental law, if you            Date of notice
         Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and      know it
                                                                   ZIP Code)

26. Have you notified any governmental unit of any release of hazardous material?

        •      No
        O      Yes. Fill in the details.
         Name of site                                              Governmental unit                             Environmental law, if you            Date of notice
         Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and      know it
                                                                   ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 5
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Debtor 1        Viola Delores Garris                                                                       Case number (if known)   23-60691-Irc


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     •        No
     O        Yes. Fill in the details.
         Case Title                                                  Court or agency                       Nature of the case                      Status of the
         Case Number                                                 Name                                                                          case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

Part 11:       Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              0 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

              0 A member of a limited liability company (LLC) or limited liability partnership (LLP)
              0 A partner in a partnership

              0 An officer, director, or managing executive of a corporation

              0 An owner of at least 5% of the voting or equity securities of a corporation

     •        No. None of the above applies. Go to Part 12.
     O        Yes. Check all that apply above and fill in the details below for each business.
         Business Name                                         Describe the nature of the business               Employer Identification number
         Address                                                                                                 Do not include Social Security number or ITIN.
         (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

     •        No
     O        Yes. Fill in the details below.
         Name                                                  Date Issued
         Address
         (Number, Street, City, State and ZIP Code)


Part 12:       Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 162, 1341, 1619, and 3671.

Is/ Viola Delores Garris
Viola Delores Garris                                                        gnature of Debtor 2
Signature of Debtor 1

Date        November 12, 2023                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
• No
O Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
• No
0 Yes. Name of Person                    . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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Fill in this information to identify your case and this filing:

Debtor 1                    Viola Delores Garris
                            First Name                                 Middle Name                        Last Name
Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                        Last Name

United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF GEORGIA

 Case number           23-60691-Irc                                                                                                                           o     Check if this is an
                                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                             12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

  11 No. Go to Part 2.

  1.   Yes. Where is the property?




 1.1                                                                           What is the property? Check all that apply
       7050 John Rivers Road                                                     El Single-family home                               Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                 El Duplex or multi-unit building
                                                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                                     o     Condominium or cooperative

                                                                                     O Manufactured or mobile home
                                                                                                                                     Current value of the      Current value of the
       Fairburn                          GA        30213-0000                    o Land                                              entire property?          portion you own?
       City                              State              ZIP Code             0 Investment property                                              $0.00                       $0.00
                                                                                 O Timeshare
                                                                                                                                     Describe the nature of your ownership interest
                                                                                 ID Other                                            (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one        a life estate), if known.
                                                                                     •    Debtor 1 only                              Fee simple
       Fulton                                                                        O Debtor 2 only
       County                                                                        O Debtor 1 and Debtor 2 only
                                                                                                                                         Check if this is community property
                                                                                     0     At least one of the debtors and another   o   (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here                                                                                                                $0.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                     Schedule A/B: Property                                                                  page 1
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Debtor 1           Viola Delores Garris                                                               Case number (if known)    23-60691-Irc

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

  0 No
  •       Yes


  3.1      Make:      Toyota                         Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                             the amount of any secured claims on Schedule D:
           Model:     4Runner                        •   Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
           Year:      2003                           o Debtor 2 only                                         Current value of the      Current value of the
           Approximate mileage:                      o Debtor 1 and Debtor 2 only                            entire property?          portion you own?
           Other information:                        o At least one of the debtors and another


                                                     El Check if this is community property                           $5,344.00                   $5,344.00
                                                        (see instructions)



4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

  •       No
  o Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  pages you have attached for Part 2. Write that number here                                                 =>                                $5,344.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                   Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   o No
      •   Yes. Describe

                                  Household Goods, Furnishings and Effects                                                                        $1,200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
      No
      •   Yes. Describe

                                  Televisions and Cellular Phone                                                                                  $1,400.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      • No
      o Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      • No
      o Yes. Describe

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      •   No
Official Form 106A/B                                          Schedule A/B: Property                                                                    page 2
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Debtor 1     Viola Delores Garris                                                                 Case number (if known)   23-60691-Irc

   0 Yes. Describe

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   0 No
   •   Yes. Describe

                              Everyday Clothes and Shoes                                                                                       $600.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
   • No
   O Yes. Describe

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
   • No
   0 Yes. Describe

14. Any other personal and household items you did not already list, including any health aids you did not list
   • No
   O Yes. Give specific information


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here                                                                                                   $3,200.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                    Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured
                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
   • No
   O Yes

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   • No
   0 Yes                                                            Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   • No
   0 Yes                              Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
   • No
   0 Yes. Give specific information about them
                                Name of entity:                                                    % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
   • No
   0 Yes. Give specific information about them
                                 Issuer name:


Official Form 106A/B                                         Schedule A/B: Property                                                               page 3
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21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   • No
   0 Yes. List each account separately.
                             Type of account:                    Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
   • No
   O Yes.                                                        Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   • No
   O Yes                  Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   • No
   0 Yes                  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
   • No
   O Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   • No
   0 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   • No
   0 Yes. Give specific information about them...

 Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you
   • No
   O Yes. Give specific information about them, including whether you already filed the returns and the tax years


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   • No
   0 Yes. Give specific information


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
   • No
   0 Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   • No
   0 Yes. Name the insurance company of each policy and list its value.
                              Company name:                                               Beneficiary:                             Surrender or refund
                                                                                                                                   value:


Official Form 106A/B                                         Schedule A/B: Property                                                                 page 4
              Case 23-60691-lrc               Doc 16         Filed 11/13/23 Entered 11/13/23 16:49:46                               Desc Main
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Debtor 1        Viola Delores Garris                                                                    Case number (if known)   23-60691-Irc

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
   •     No
   0 Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   •     No
   0 Yes. Describe each claim

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
   •     No
   O Yes. Describe each claim

35. Any financial assets you did not already list
   •     No
   O Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here                                                                                                            $0.00


Part 5:    Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
  MI No. Go to Part 6.
  El Yes. Go to line 38.



Part 6     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       In No. Go to Part 7.
       El Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
   • No
   0 Yes. Give specific information


 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                               $0.00




Official Form 106A/B                                             Schedule NB: Property                                                                  page 5
           Case 23-60691-lrc                Doc 16      Filed 11/13/23 Entered 11/13/23 16:49:46                          Desc Main
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Debtor 1    Viola Delores Garris                                                            Case number (if known)   23-60691-Irc

Part 8:    List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2                                                                                                  $0.00
56. Part 2: Total vehicles, line 5                                           $5,344.00
57. Part 3: Total personal and household items, line 15                      $3,200.00
58. Part 4: Total financial assets, line 36                                        $0.00
59. Part 5: Total business-related property, line 45                               $0.00
60. Part 6: Total farm- and fishing-related property, line 52                      $0.00
61. Part 7: Total other property not listed, line 64                               $0.00

62. Total personal property. Add lines 56 through 61...                      $8,544.00     Copy personal property total             $8,544.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                $8,544.00




Official Form 106A/B                                      Schedule A/B: Property                                                        page 6
               Case 23-60691-lrc              Doc 16         Filed 11/13/23 Entered 11/13/23 16:49:46                                Desc Main
                                                            Document      Page 13 of 30
Fill in this information to identify your case:

Debtor 1                 Viola Delores Garris
                         First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)      First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF GEORGIA

Case number           23-60691-Irc
(if known)                                                                                                                      El Check if this is an
                                                                                                                                   amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you,

      •   You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      o You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from     Check only one box for each exemption.
                                                       Schedule NB
      7050 John Rivers Road Fairburn, GA                                                                       $0.00     0.C.G.A. §44-13-100(a)(1)
                                                                      $0.00    •
      30213 Fulton County
      Line from Schedule A/B: 1.1                                                    100% of fair market value, up to
                                                                                     any applicable statutory limit

      2003 Toyota 4Runner                                          $5,344.00   •                          $5,000.00      0.C.G.A. §44-13-100(a)(3)
      Line from Schedule A/B: 3.1
                                                                               O      100% of fair market value, up to
                                                                                      any applicable statutory limit

      Household Goods, Furnishings and                             $1,200.00   III                        $1,200.00      0.C.G.A. §44-13-100(a)(4)
      Effects
      Line from Schedule A/B: 6.1                                              O      100% of fair market value, up to
                                                                                      any applicable statutory limit

      Televisions and Cellular Phone                               $1,400.00   MI                         $1,400.00      0.C.G.A. §44-13-100(a)(4)
      Line from Schedule A/B: 7.1
                                                                               O     100% of fair market value, up to
                                                                                     any applicable statutory limit

      Everyday Clothes and Shoes                                    $600.00    •                            $600.00      0.C.G.A. §44-13-100(a)(4)
      Line from Schedule A/B: 11.1
                                                                               O      100% of fair market value, up to
                                                                                      any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
            Case 23-60691-lrc              Doc 16        Filed 11/13/23 Entered 11/13/23 16:49:46                               Desc Main
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Debtor 1    Viola Delores Garris                                                             Case number (if known)      23-60691-Irc
3. Are you claiming a homestead exemption of more than $189,060?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
    •      No

    0      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           0     No
                 Yes




Official Form 106C                            Schedule C: The Property You Claim as Exempt                                              page 2 of 2
               Case 23-60691-lrc                       Doc 16         Filed 11/13/23 Entered 11/13/23 16:49:46                                     Desc Main
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Fill in this information to identify your case:

Debtor 1                    Viola Delores Garris
                            First Name                       Middle Name                      Last Name
Debtor 2
(Spouse if, filing)          First Name                      Middle Name                      Last Name

United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA

Case number             23-60691-Irc
(if known)                                                                                                                                     O Check if this is an
                                                                                                                                                  amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
      1:3 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

      •    Yes. Fill in all of the information below.

Part 1:         List All Secured Claims
                                                                                                              Column A              Column B               Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As      Amount of claim       Value of collateral    Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name.                     Do not deduct the     that supports this     portion
                                                                                                              value of collateral   claim                  If any
1 2.1 1 Bank of America                            Describe the property that secures the claim:                         $0.00                    $0.00                $0.00
          Creditor's Name                          7050 John Rivers Road Fairburn,
                                                   GA 30213 Fulton County

                                                   As of the date you file, the claim is: Check all that
          337 Moreland Avenue                      apply.
          Atlanta, GA 30307                        El Contingent
          Number, Street, City, State & Zip Code   o Unliquidated
                                                   El Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply,
 IN Debtor 1 only                                  El An agreement you made (such as mortgage or secured
                                                       car loan)
 El Debtor 2 only
 o Debtor 1 and Debtor 2 only                      El Statutory lien (such as tax lien, mechanic's lien)
 El At least one of the debtors and another        El Judgment lien from a lawsuit
 o Check if this claim relates to a                •    Other (including a right to offset)   Deed of Trust
    community debt

 Date debt was incurred                                     Last 4 digits of account number        3697




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 2
             Case 23-60691-lrc                      Doc 16           Filed 11/13/23 Entered 11/13/23 16:49:46                                             Desc Main
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Debtor 1 Viola Delores Garris                                                                              Case number (if known)         23-60691-Irc
              First Name                  Middle Name                    Last Name


2.2
        Shellpoint Mortgage
        Servicing                                  Describe the property that secures the claim:                   $94,907.00                         $0.00     $94,907.00
        Creditor's Name                            7050 John Rivers Road Fairburn,
                                                   GA 30213 Fulton County
                                                   As of the date you file, the claim is: Check all that
        P 0 Box 740039                             apply.
        Cincinnati, OH 45274                       O Contingent
        Number, Street, City, State & Zip Code     o Unliquidated
                                                   El Disputed
Who owes the debt? Check one                       Nature of lien. Check all that apply.

•    Debtor 1 only                                 0 An agreement you made (such as mortgage or secured
                                                      car loan)
0 Debtor 2 only
0 Debtor 1 and Debtor 2 only                       0 Statutory lien (such as tax lien, mechanic's lien)
0 At least one of the debtors and another          0 Judgment lien from a lawsuit
El Check if this claim relates to a                0 Other (including a right to offset)
   community debt

Date debt was incurred                                    Last 4 digits of account number          3697


    Add the dollar value of your entries in Column A on this page. Write that number here:                                   $94,907.00
    If this is the last page of your form, add the dollar value totals from all pages.
    Write that number here:                                                                                                  $94,907.00

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part I. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed In Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.2
          Padgett Law Group
          6267 Old Water Oak Road                                                                   Last 4 digits of account number
          Suite 203
          Tallahassee, FL 32312




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                               page 2 of 2
                Case 23-60691-lrc                    Doc 16          Filed 11/13/23 Entered 11/13/23 16:49:46                                              Desc Main
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Fill in this information to identify your case:

Debtor 1                  Viola Delores Garris
                          First Name                        Middle Name                       Last Name
Debtor 2
(Spouse if, filing)       First Name                        Middle Name                       Last Name

United States Bankruptcy Court for the:               NORTHERN DISTRICT OF GEORGIA

Case number           23-60691-Irc
(if known)                                                                                                                                           El Check if this is an
                                                                                                                                                          amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule NB: Property (Official Form 106A1B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:         List All of Your PRIORITY Unsecured Claims
I.     Do any creditors have priority unsecured claims against you?

       II No. Gobo Part 2.
       El Yes.


Part 2:         List All of Your NONPRIORITY Unsecured Claims
 3. Do any creditors have nonpriority unsecured claims against you?

       ID No. You have nothing to report in this part. Submit this form to the court with your other schedules.

       1. Yes.

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.11you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Melaleuca Card                                            Last 4 digits of account number         3082                                                        $1,220.00
            Nonpriority Creditor's Name
            4609 West 65th South                                      When was the debt incurred?
            Idaho Falls, ID 83402
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            •    Debtor 1 only                                        ID Contingent
            1:1 Debtor 2 only                                         o Unliquidated
            El Debtor 1 and Debtor 2 only                             El Disputed
            1:1 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            El Check if this claim is for a community                 13 Student loans
            debt                                                      ID Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

            ▪    No                                                   01 Debts to pension or profit-sharing plans, and other similar debts

            o Yes                                                     •   Other. Specify




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 3
                                                                                                                56194
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 Debtor 1 Viola Delores Garris                                                                           Case number (it known)          23-60691-Irc

1 4.2      Service Finance Co.                                      Last 4 digits of account number                                                          $1,279.61
           Nonpriority Creditor's Name
           P 0 Box 645487                                           When was the debt incurred?
           Cincinnati, OH 45264-5487
           Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.

           El Debtor 1 only                                         o Contingent
           El Debtor 2 only                                         El Unliquidated
           El Debtor 1 and Debtor 2 only                            El Disputed
           El At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           o Check If this claim is for a community                 El Student loans
           debt                                                     El Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                          report as priority claims

           IN No                                                    El Debts to pension or profit-sharing plans, and other similar debts

           El Yes                                                   IN Other. Specify     Trade debt


 4.3       Wells Fargo                                              Last 4 digits of account number        2670                                              $2,012.67
           Nonpriority Creditor's Name
           P 0 Box 71118                                            When was the debt Incurred?
           Charlotte, NC 28272
           Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           II Debtor 1 only                                         El Contingent
           o Debtor 2 only                                           o Unliquidated
           El Debtor 1 and Debtor 2 only                            El Disputed
           El At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Ei Check if this claim is for a community                El Student loans
           debt                                                     El Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                          report as priority claims

           El No                                                    El Debts to pension or profit-sharing plans, and other similar debts

           El Yes                                                   MI Other. Specify


 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                  Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.                                   0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.                                   0.00

                                                                                                                                  Total Claim
                        61.   Student loans                                                                6f.                                   0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.                                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                           0.00
                                                                                                                                             A r 4fl no
                        6i.   Other. Add all other non priority unsecured claims. Kite tat G.7?(;6'.11                                      4,0 14.40


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 3
            Case 23-60691-lrc                      Doc 16          Filed 11/13/23 Entered 11/13/23 16:49:46                      Desc Main
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Debtor 1    Viola Delores Garris                                                               Case number (it known)   23-60691-Irc
                              here,

                        6j.   Total Nonpriority. Add lines 61 through 6i.                        6j.                      4,512.28




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 3 of 3
                      Case 23-60691-lrc                 Doc 16           Filed 11/13/23 Entered 11/13/23 16:49:46                         Desc Main
                                                                        Document      Page 20 of 30
Fill in this information to identify your case:

Debtor 1                     Viola Delores Garris
                             First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)          First Name                         Middle Name              Last Name

United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

Case number              23-60691-Irc
(If known)                                                                                                                            0   Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.         Do you have any executory contracts or unexpired leases?
           •    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           12 Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.         List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.


               Person or company with whom you have the contract or lease                   State what the contract or lease is for
                             Name, Number, Street, City, State and ZIP Code
     2.1
                Name


                Number     Street

                City                                  State                   ZIP Code
     2.2
                Name


                Number     Street

                Crt                                   State                   ZIP Code
     2.3
                Name


                Number     Street

                City                                  State                   ZIP Code
     2.4
                Name


                Number     Street

                City                                  State                   ZIP Code
     2.5
                Name


                Number     Street

                City                                  State                   ZIP Code




Official Form 106G                                   Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
               Case 23-60691-lrc                      Doc 16             Filed 11/13/23 Entered 11/13/23 16:49:46               Desc Main
                                                                        Document      Page 21 of 30
Fill in this information to identify your case:

Debtor 1                   Viola Delores Garris
                           First Name                            Middle Name         Last Name

Debtor 2
(Spouse if, filing)        First Name                            Middle Name         Last Name

United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

Case number            23-60691-Irc
(if known)                                                                                                                  0   Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are tiling together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

     • No
     ID Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      • No. Go to line 3.
      o Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                              o Schedule D, line
                Name
                                                                                                     o Schedule E/F, line
                                                                                                     o Schedule G, line
                Number            Street
                City                                     State                        ZIP Code




    3.2                                                                                              El Schedule D, line
               Name
                                                                                                     O Schedule E/F, line
                                                                                                     O Schedule G, line
               Number             Street
               City                                      State                        ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                  Page 1 of 1
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Fill in this information to identif   our case:

Debtor 1                      Viola Delores Garris

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number               23-60691-Irc                                                                  Check if this is:
(If known)
                                                                                                        El An amended filing
                                                                                                        1:1 A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 1061                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                              1:1 Employed                                El Employed
       attach a separate page with           Employment status
       information about additional                                •   Not employed                            o Not employed
       employers.
                                             Occupation            Retired
       Include part-time, seasonal, or
       self-employed work.                   Employers name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
 2.    deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.                 0.00                    N/A




Official Form 1061                                                      Schedule I: Your Income                                                 page 1
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Debtor 1 Viola Delores Garris                                                                    Case number Of known)   23-60691-Irc


                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                          non-filing spouse
     Copy line 4 here                                                                     4.      $              0.00     $              N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.     $              0.00   $                   N/A
     5b.    Mandatory contributions for retirement plans                                  5b.     $              0.00   $                   N/A
     5c.    Voluntary contributions for retirement plans                                  5c.     $              0.00   $                   N/A
     5d.    Required repayments of retirement fund loans                                  5d.     $              0.00   $                   N/A
     5e.    Insurance                                                                     5e.     $              0.00   $                   N/A
     5f.    Domestic support obligations                                                  5f.     $              0.00   $                   N/A
     5g.    Union dues                                                                    5g.     $              0.00   $                   N/A
     5h.    Other deductions. Specify:                                                    5h.+    $              0.00 + $                   N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+51+5g+5h.                       6.     $               0.00     $                 N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $                 N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.     $              0.00     $                 N/A
     8b. Interest and dividends                                                           8b      $              0.00     $                 N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.     $            0.00       $                 N/A
     8d. Unemployment compensation                                                        8d.     $            0.00       $                 N/A
     8e. Social Security                                                                  8e.     $        1,689.00       $                 N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                 0.00   $                   N/A
     8g. Pension or retirement income                                                     8g. $                  0.00   $                   NIA
     8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                   N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.               1,689.00                             N/A


10. Calculate monthly income. Add line 7 + line 9.                                    10. $           1,689.00                  N/A         $         1,689.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $             1,689.00

                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
    •     No.
    O     Yes. Explain:




Official Form 1061                                                     Schedule I: Your Income                                                         page 2
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Fill in this information to identify your case:

Debtor 1                 Viola Delores Garris                                                                 Check if this is:
                                                                                                              ID An amended filing
Debtor 2                                                                                                      ID A supplement showing postpetition chapter
(Spouse, if filing)                                                                                               13 expenses as of the following date:

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA                                          MM / DD /YYYY

Case number           23-60691-Irc
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1.     Describe Your Household
     Is this a joint case?
      • No. Go to line 2.
      o Yes. Does Debtor 2 live in a separate household?
                0 No
                o Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?             El No
      Do not list Debtor 1 and            •    Yes.   Fill out this information for   Dependent's relationship to     Dependent's      Does dependent
      Debtor 2.                                       each dependent                  Debtor 1 or Debtor 2            age              live with you?

      Do not state the                                                                                                                 ▪ No
      dependents names.                                                               Son                              50              • Yes
                                                                                                                                       ▪ No
                                                                                                                                       0 Yes
                                                                                                                                       El No
                                                                                                                                       0 Yes
                                                                                                                                       ▪ No
                                                                                                                                       0 Yes
3.    Do your expenses include
                                                  • No
      expenses of people other than
      yourself and your dependents?               1:1 Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule!: Your Income
(Official Form 1061.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                             4. $                            0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                  4a. $                            0.00
      4b. Property, homeowner's, or renter's insurance                                                       4b. $                          190.64
      4c. Home maintenance, repair, and upkeep expenses                                                      4c. $                            0.00
      4d. Homeowner's association or condominium dues                                                        4d. $                            0.00
5     Additional mortgage payments for your residence, such as home equity loans                              5. $                            0.00




Official Form 106J                                                      Schedule J: Your Expenses                                                       page 1
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Debtor 1    Viola Delores Garris                                                                     Case number (if known)      23-60691-Irc

6.  Utilities:
    6a. Electricity, heat, natural gas                                                    6a. $                                                 334.00
    6b. Water, sewer, garbage collection                                                  6b. $                                                   0.00
    6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                  77.25
    6d. Other. Specify:                                                                   6d. $                                                   0.00
7. Food and housekeeping supplies                                                           7. $                                                420.00
8. Childcare and children's education costs                                                 8. $                                                  0.00
9. Clothing, laundry, and dry cleaning                                                      9. $                                                 80.00
10. Personal care products and services                                                   10. $                                                   0.00
11. Medical and dental expenses                                                           11. $                                                   0.00
12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                          12. $                                                 120.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                     0.00
14. Charitable contributions and religious donations                                      14. $                                                     0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.
    15a. Life insurance                                                                  15a. $                                                  45.14
    15b. Health insurance                                                                15b. $                                                   0.00
    15c. Vehicle insurance                                                               15c. $                                                 141.07
    15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                              16. $                                                     0.00
17. Installment or lease payments:
    17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
    17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
    17c. Other. Specify:                                                                 17c. $                                                     0.00
    17d. Other. Specify:                                                                 17d $                                                      0.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 6, Schedule!, Your Income (Official Form 1061).        18. $                                                     0.00
19. Other payments you make to support others who do not live with you.                                                                             0.00
    Specify:                                                                               19.
20. Other real property expenses not included in lines 4 or 6 of this form or on Schedule!: Your Income.
    20a. Mortgages on other property                                                     20a. $                                                     0.00
    20b. Real estate taxes                                                               20b. $                                                     0.00
    20c. Property, homeowner's, or renter's insurance                                    20c. $                                                     0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
    20e. Homeowner's association or condominium dues                                     20e. $                                                     0.00
21. Other: Specify:                                                                       21. +$                                                    0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                                           1,408.10
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
     22c. Add line 22a and 22b. The result is your monthly expenses.                                                                        1,408.10
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a. $                              1,689.00
    23b. Copy your monthly expenses from line 22c above.                                                  23b. -$                             1,408.10

     23c, Subtract your monthly expenses from your monthly income.
          The result is your monthly net income.                                                          23c.                                   280.90

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
    modification to the terms of your mortgage?
     • No.
     0 Yes.              Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                    page 2
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    Fill in this information to identify your case:

    Debtor 1                 Viola Delores Garris
                             First Name                Middle Name               Last Name

    Debtor 2
    (Spouse if, filing)      First Name                Middle Name               Last Name


    United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

    Case number           23-60691-Irc
    (if known)                                                                                                              ID Check if this is an
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                   12/15

If you are an individual filing under chapter 7, you must fill out this form if:
•      creditors have claims secured by your property, or
• you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
          sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

    Part 1         List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


       Creditor's         Bank of America                            El Surrender the property.                         O No
       name:                                                         o Retain the property and redeem it.
                                                                     • Retain the property and enter into a             •     Yes
       Description of        7050 John Rivers Road                     Reaffirmation Agreement.
       property              Fairburn, GA 30213 Fulton
                                                                     o Retain the property and [explain]:
       securing debt:        County



       Creditor's         Shellpoint Mortgage Servicing              o Surrender the property.                                No
       name:                                                         ID Retain the property and redeem it.
                                                                     • Retain the property and enter into a             •     Yes
       Description of        7050 John Rivers Road                     Reaffirmation Agreement.
       property              Fairburn, GA 30213 Fulton
                                                                     o Retain the property and [explain]:
       securing debt:        County


 Part 2    List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                                Will the lease be assumed?


Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
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Debtor 1    Viola Delores Garris                                                        Case number (if known)       23-60691-Irc



Lessor's name:                                                                                                   El No
Description of leased
Property:                                                                                                        o Yes

Lessor's name:                                                                                                   0 No
Description of leased
Property:                                                                                                        o Yes

Lessor's name:                                                                                                   ▪     No
Description of leased
Property:                                                                                                        El Yes

Lessor's name:                                                                                                   •     No
Description of leased
Property:                                                                                                        o Yes

Lessor's name:                                                                                                   •     No
Description of leased
Property:                                                                                                        El Yes

Lessor's name:                                                                                                   •     No
Description of leased
Property:                                                                                                        o Yes

Lessor's name:                                                                                                   El No
Description of leased
Property:                                                                                                        o Yes

Part 3.     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X    Is/ Viola Delores Garris                                          X
     Viola Delores Garris                                                  Signature of Debtor 2
    ,Signature of Debtor 1
                              ,Atakko.
     Date       November 12, 2023                                      Date




Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                 page 2
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Fill in this information to identify your case:

Debtor 1                 Viola Delores Garris
                         First Name                    Middle Name               Last Name

Debtor 2
(Spouse if, filing)      First Name                    Middle Name               Last Name

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF GEORGIA

Case number           23-60691-Irc
(if known)                                                                                                                       1:1 Check if this is an
                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part1:         Summarize Your Assets

                                                                                                                                    Your assets
                                                                                                                                    Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       la. Copy line 55, Total real estate, from Schedule A/B                                                                                              0.00

       lb. Copy line 62, Total personal property, from Schedule A/B                                                                                  8,544.00

       lc. Copy line 63, Total of all property on Schedule A/B                                                                                       8,544.00

Part 2:        Summarize Your Liabilities

                                                                                                                                    Your liabilities
                                                                                                                                    Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D                          94,907.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F                                                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                             4,512.28


                                                                                                        Your total liabilities                   99,419.28


Part 3:        Summarize Your Income and Expenses

4.     Schedule!: Your Income (Official Form 1061)
       Copy your combined monthly income from line 12 of Schedule I                                                                                  1,689.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J                                                                                        1,408.10

Part 4         Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
       0    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

       •  Yes
7.     What kind of debt do you have?

       •       Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
               household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       0       Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                  Summary of Your Assets and Liabilities and Certain Statistical Information                           page 1 0f2
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Debtor 1     Viola Delores Garris                                                       Case number (if known) 23-60691-Irc
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                      0.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                   Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                               0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                      0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                            0.00

     9d. Student loans. (Copy line 6f.)                                                                             0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                                           0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         0.00


     9g. Total. Add lines 9a through 9f.                                                                          0.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
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Fill in this information to identify your case:

Debtor 1                    Viola Delores Garris
                            First Name             Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name              Last Name


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number              23-60691-Irc
(if known)                                                                                                                0   Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1619, and 3671.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       •       No

       0       Yes. Name of person                                                                      Attach Bankruptcy Petition Preparer's Notice,
                                                                                                        Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Viola Delores Garris                                           X
         Viola Delores Garris                                                   Signature of Debtor 2
         Signature of Debtor 1

             Date       November 12, 2023                                       Date




Official Form 106Dec                               Declaration About an Individual Debtor's Schedules
